

Vassenelli v City of Syracuse (2019 NY Slip Op 08120)





Vassenelli v City of Syracuse


2019 NY Slip Op 08120


Decided on November 8, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 8, 2019

PRESENT: WHALEN, P.J., PERADOTTO, NEMOYER, AND CURRAN, JJ. (Filed Nov. 8, 2019.) 


MOTION NO. (447/19) CA 18-01083.

[*1]NICHOLAS L. VASSENELLI, PLAINTIFF-APPELLANT, 
vCITY OF SYRACUSE, ET AL., DEFENDANTS, PMA MANAGEMENT CORP. AND CAROL WAHL, DEFENDANTS-RESPONDENTS. (APPEAL NO. 7.)



MEMORANDUM AND ORDER
Motion for reargument or leave to appeal to the Court of Appeals denied.








